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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

PFLAG, INC., et al.,                            *

       Plaintiffs,                              *

       v.                                       *           CIVIL NO. BAH-25-337

DONALD J. TRUMP, et al.,                        *

       Defendants.                              *

       *       *       *      *      *      *    *          *       *      *        *
                                            ORDER

        During further proceedings in this matter, no person may possess or transport into the

 courtroom any electronic devices, to include cellular telephones, cameras, recording devices of

 any type including “smart” pens, and/or computers, to include laptops and tablets, without the

 express permission of the presiding judge. This restriction shall not apply to employees of the

 United States District Court for the District of Maryland, the United States Marshal or his

 Deputies, Court Security Officers, counsel of record in this case, employees of state and federal

 law enforcement agencies, and/or investigators and employees of counsel representing parties

 in the case, provided those investigators and employees of counsel are identified to the Court in

 advance. All persons subject to this Order are advised not to bring any such electronic devices

 to the courthouse.

       The United States Marshal, his Deputies, and the Court Security Officers shall enforce

this Order.




Date: February 13, 2025                                                 /s/
                                                     Brendan A. Hurson
                                                     United States District Judge
